     Case 3:19-cv-07270-WHA Document 353 Filed 01/07/22 Page 1 of 5



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15

16                             UNITED STATES DISTRICT COURT

17                         NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19
20   URSULA FREITAS, individual, on behalf of    Case No. 3:19-cv-07270-WHA
     herself and others similarly situated,
21                                               DECLARATION OF GARY W.
                      Plaintiffs,                BRAXTON IN SUPPORT OF
22                                               CRICKET WIRELESS, LLC’s
            v.                                   MOTION TO ENFORCE TEXT-
23                                               MESSAGE AND ELECTRONIC-
     CRICKET WIRELESS, LLC,                      SIGNATURE ARBITRATION
24                                               AGREEMENTS OF POTENTIAL
                      Defendant.                 CLASS MEMBERS
25
                                                 Date: February 24, 2022
26                                               Time: 8:00 a.m.
                                                 Location: Courtroom 12, 19th Floor
27                                               Judge: Hon. William H. Alsup

28                                               Complaint Filed: November 4, 2019


                                                       DECLARATION OF GARY W. BRAXTON,
                                                              CASE NO. 3:19-CV-07270-WHA
      Case 3:19-cv-07270-WHA Document 353 Filed 01/07/22 Page 2 of 5



 1   I, Gary W. Braxton, declare as follows:
 2          1.      I have personal knowledge of the following facts, and if called as a witness I could

 3   and would testify competently as to their truth.

 4          2.      I am currently employed by Cricket Wireless LLC (“Cricket”) as a Senior

 5   Manager of Advanced Analytics, which is part of the Advanced Analytics Team within Cricket’s

 6   Business Operations department.

 7          3.      Previously, I was Senior Manager, Strategic Pricing, which is part of the Strategy

 8   Team, which is also part of Cricket’s Business Operations department.

 9          4.      Although I have held a variety of job titles, in all of my roles a significant portion

10   of my responsibilities required interaction with Cricket’s databases containing customer

11   information. I am familiar with how, in the regular and ordinary course of business, records in

12   these databases were created, stored, and may be retrieved.

13          5.      Legacy Cricket customer information can be accessed in the Enterprise Data

14   Warehouse (or EDW), where the customer profile information is stored in the regular and

15   ordinary course of business. As part of my responsibilities at Cricket, I routinely retrieve data

16   from the EDW database.

17          6.      In total, on May 1, 2014, there were 3,469,178 unique Cricket accounts, and

18   4,705,834 lines of service. These accounts are inclusive of all rate plans and product types, and do

19   not include miscellaneous (e.g., demo, employee, test) accounts.

20          7.      In this case, potential class members were assigned customer IDs, an anonymized

21   identification number that is unique for each combination of account number and phone number

22   in order to make it easier for plaintiffs to match smartphone purchases to particular lines of

23   service. A potential class member would have multiple customer IDs if he or she had multiple

24   lines of service on his or her account or multiple accounts. To be consistent with plaintiffs’

25   calculations earlier in this case, which used the number of customer IDs as a proxy for the

26   number of potential class members, in this declaration, I count potential class members by

27   customer ID.

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                                                        -2-
                                                                   DECLARATION OF GARY W. BRAXTON,
                                                                          CASE NO. 3:19-CV-07270-WHA
         Case 3:19-cv-07270-WHA Document 353 Filed 01/07/22 Page 3 of 5



 1
             8.     Plaintiffs have identified 486,808 unique customer IDs associated with account
 2
     holders who plaintiffs contend are class members in this case.
 3
             9.     I reviewed the account records for the 486,808 customer IDs who plaintiffs assert
 4
     are class members in this case and determined that 480,250 of these customer IDs received at
 5
     least one legacy Cricket Quick Start Guide (i.e., purchased a device before May 18, 2014).
 6
     Attached hereto as Exhibit A is a list of the customer IDs, names, account numbers, and states
 7
     (according to their customer address), of these 480,250 customer IDs.
 8
             10.    In addition, I reviewed the accounts records for the 486,808 customer IDs and
 9
     determined that 247,7971 of these customer IDs received at least one New Cricket Terms &
10
     Conditions booklet (i.e., purchased a device on or after May 18, 2014). There is some overlap
11
     between the number of customers who received both at least one legacy Cricket and one New
12
     Cricket booklet (i.e., purchased a device both before and on or after May 18, 2014). Attached
13
     hereto as Exhibit B is a list of the customer IDs, names, account numbers, and states of these
14
     247,797 customer IDs.
15
             11.    The system-generated customer account records I regularly work with and have
16
     used to prepare this declaration indicate whether a customer has an active account during a
17
     particular billing cycle. Because Cricket provides service on a prepaid basis, if a customer has an
18
     active account on a particular date, the customer must have paid for service during the previous
19
     billing cycle. Otherwise, Cricket’s billing systems would have automatically suspended the
20
     account. I reviewed the account records for the 486,808 customer IDs and determined who both
21
     (1) had an active account on May 22, 2014, and (2) continued to have an active account in their
22
     next billing cycle that began after May 22, 2014. These customers thus paid for service after May
23
     22, 2014.
24
             12.    I reviewed the account records for the 486,808 customer IDs and determined that
25
     400,448 of these customer IDs were associated with accounts that were active on May 22, 2014.
26

27
     1
28    This number is greater than the number submitted in the September 2, 2021 declaration (Dkt.
     313-13) as the date range extends until December 31, 2021.
                                                  -3-
                                                                 DECLARATION OF GARY W. BRAXTON,
                                                                        CASE NO. 3:19-CV-07270-WHA
      Case 3:19-cv-07270-WHA Document 353 Filed 01/07/22 Page 4 of 5



 1
            13.     Of those 400,448 customer IDs, 379,813 were associated with account holders that
 2
     purchased at least one more month of Cricket service (i.e., they had an active account for an
 3
     additional billing cycle after May 22, 2014) on either the legacy Cricket or New Cricket
 4
     networks. Attached hereto as Exhibit C is a list of the customer IDs, names, account numbers,
 5
     and states of these 379,813 customer IDs.
 6
            14.     Of the 400,448 customer IDs associated with accounts active on May 22, 2014,
 7
     20,635 customer IDs were associated with account holders that did not pay for an additional
 8
     month of Cricket service. Attached hereto as Exhibit D is a list of the customer IDs, names,
 9
     account numbers, and states of these 20,635 customer IDs.
10
            15.     I also reviewed the account records for these 486,808 customer IDs and
11
     determined that 438 customer IDs were associated with accounts that activated (or reactivated)
12
     service or added a new line of service online using Cricket’s website between April 1, 2017 and
13
     December 31, 2021. Attached hereto as Exhibit E is a list of the customer IDs, names, account
14
     numbers, and states of these 438 customer IDs.
15
            16.     I also reviewed the account records for these 486,808 customer IDs and
16
     determined which were associated with account holders since May 1, 2017, either returned to
17
     Cricket after having terminated service or who added a new line of service onto an existing
18
     account at a store. There are 15,529 customer IDs. Attached hereto as Exhibit F is a list of the
19
     customer IDs, names, account numbers, and states of these 15,529 customer IDs.
20
                                           [Signature page follows]
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                                                                 DECLARATION OF GARY W. BRAXTON,
                                                                        CASE NO. 3:19-CV-07270-WHA
Case 3:19-cv-07270-WHA Document 353 Filed 01/07/22 Page 5 of 5
